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                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA

IN RE:                                    )
                                          )      B/K Case No. 19-01442-dd
Matthew Aaron Welch and                   )
Amanda Grace Welch                        )
                                          )      Chapter 7
                    Debtors.              )

   APPLICATION TO EMPLOY REAL ESTATE BROKER AND SUB-REAL ESTATE LISTING
                                  AGENT

      The Application of Kevin Campbell, Trustee in Bankruptcy for the Estate of the
above-captioned Debtors, respectfully represents that:

   1. Your Applicant is the duly appointed, qualified and acting Trustee for the Estate of
      the Debtors in the above-captioned matter.

   2. Your Applicant desires to employ and retain BK Global Real Estate Services
      (“BKRES”), whose address is 1095 Broken Sound Parkway, N.W., Suite 100, Boca
      Raton, FL 33487 and whose telephone number is (561) 206-0067, to represent him
      as a Real Estate Broker in the sale of the Debtors’ property located at 45
      BURLINGTON CIR BEAUFORT, SC 29906 (“PROPERTY”).

   3. Your Applicant desires to employ and retain Roger Alley of Equity Safe Realty whose
      address is 83 Sama Point Road, Beaufort, SC 29907 and whose telephone number is
      843-263-4562, to represent him as the local licensed Listing Agent in the sale of the
      Property.

   4. BKRES is the primary broker and Equity Safe Realty is the local licensed Listing
      Agent. BKRES prepares the listing agreement, including the requirement that the
      property must be sold with the approval of the Bankruptcy Court "as is, where is",
      without any warranties whatsoever, by quitclaim deed. BKRES advises the Trustee
      as to what the property should list for and what it may sell for, considering the
      subject property and the short sale lender’s requirements; as well as recommends
      the additional amount the buyers should pay to be used for the trustee’s
      compensation and expenses and to make a meaningful distribution to the unsecured
      creditors.

   5. Your Applicant desires to compensate BKRES by paying a commission in the amount
      of six percent (6%) of the sales price obtained on the subject residential property to
      be paid upon closing of any transaction wherein the real estate agent performs such
      services. BKRES will pay the Equity Safe Realty from its 6% commission.
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   6. The property is then marketed by Equity Safe Realty as the local Listing Agent. The
      local Listing Agent provides local area knowledge and the availability of the Multiple
      Listing Service (MLS). This combination leads to optimal results.

   7. Any contract will be reviewed by BKRES before being submitted to the Trustee for
      his approval. Once there is a ratified contract, BKRES will submit the contract to the
      lender and negotiate short sale approval at no cost to the estate.

   8. Your Applicant is informed and believes that both BKRES and Equity Safe Realty are
      disinterested parties within the meaning of that term as it is used in §101(14) of the
      Bankruptcy Code except that BKRES has been employed by the trustee in past,
      present and future cases.

   9. Your Applicant is informed and believes that BKRES and Equity Safe Realty have no
      connection with the Debtors, any creditors of the estate, any other party in interest,
      their respective attorneys and accountants, the United States Trustee, or any person
      employed in the Office of the United States Trustee.

WHEREFORE, your Applicant asks that the Court enter an Order authorizing him to employ
BKRES as his Real Estate Broker and Equity Safe Realty as his local Listing agent.

                                          /s/ Kevin Campbell
                                          KEVIN CAMPBELL, Trustee
                                          Post Office Box 684
                                          Mt. Pleasant, South Carolina 29465
MT. PLEASANT, SOUTH CAROLINA              (843) 884-6874 / 884-0997 (fax)
Dated: July 22, 2019                      kcampbell@campbell-law-firm.com
                                          District Court I.D. 30
